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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                             Case No. 4:15-cr-00276-06 KGB

ANTHONY BROWN                                                                  DEFENDANT

                                            ORDER

       Pending before the Court is the United States’ motion to dismiss indictment without

prejudice as to defendant Anthony Brown only (Dkt. No. 160). The Court grants the United

States’ motion to dismiss indictment without prejudice (Dkt. No. 160), and the Court dismisses

the indictment without prejudice now pending against Mr. Brown.

       It is so ordered this 28th day of December, 2015.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
